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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-CR-60083-MARTINEZ(s)


  UNITED STATES OF AMERICA

  v.

  JAMESON JEAN,

                        Defendant.
                                           /

                                        NOTICE OF FILING

         The United States of America, by and through the undersigned attorney, hereby gives

  notice that it has filed, under seal, a Memorandum in Support of Motion for Reduction of Sentence

  (DE43) in the above captioned case.



                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY


                                               By:    s/ Robert Juman
                                                      ROBERT JUMAN
                                                      Assistant United States Attorney
                                                      Court ID No. A5502228
                                                      500 E. Broward Blvd.
                                                      Ft. Lauderdale, Florida 33394
                                                      Tel: (954) 660-5948
                                                      Fax: (954) 356-7336
                                                      robert.juman@usdoj.gov




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                              CERTIFICATION OF SERVICE

         I HEREBY CERTIFY that on August 7, 2020, I electronically filed the foregoing

  document onto the Court’s CM/ECF system, and a copy was provided to all counsel of record by

  that means.


                                                   s/ Robert Juman
                                                   Assistant U.S. Attorney




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